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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
SOMSANIT THONGSENG,                       )
                                          )
            Petitioner,                   )                  Criminal Action No.
                                          )                  05-40037-FDS
                                          )
                                          )                  Civil Action No.
                        v.                )                  08-40101-FDS
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            Respondent.                   )
__________________________________________)


                            MEMORANDUM AND ORDER ON
                         ORDER ON MOTION UNDER 28 U.S.C. § 2255

SAYLOR, J.

       This is a motion to vacate, set aside, or correct a sentence by a person in federal custody

pursuant to 28 U.S.C. § 2255. Petitioner Somsanit Thongseng seeks to set aside his sentence on

the grounds (1) that he received ineffective assistance of counsel because his counsel failed to

file a motion for downward departure based on his immigration status; (2) that he received

ineffective assistance of counsel because his counsel failed to file a motion for downward

departure based on the disparity between his sentence and the sentences of his co-defendants; (3)

that the Court should re-consider his motion for mitigating role adjustment pursuant to U.S.S.G.

§ 3B1.2; and (4) that the sentence is unreasonable and greater than necessary under 18 U.S.C. §

3553(a) and United States v. Booker, 543 U,S, 220 (2005). For the reasons set forth below, the

motion will be denied.
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I.      Background

        On September 25, 2005, Thongseng and several other persons were arrested after selling

drugs to undercover DEA agents in Fitchburg, Massachusetts. The agents had first met

Thongseng on June 22, 2005 in Buffalo, New York, when he sold the undercover agents 700

ecstasy tablets. On August 3, 2005, Thongseng made a second sale of 5,000 ecstasy tablets to

the undercover agents. During this meeting, Thongseng, several other co-conspirators, and the

undercover agents discussed a much larger future deal. Thongseng told agents that he had a

supply source in North Carolina who could provide them with large quantities of ecstasy.

        On August 18, 2005, Thongseng introduced the undercover agents to his supply source,

Boula Sisompeng. At this meeting, the agents negotiated a deal to buy 300,000 ecstasy tablets

from Sisompeng for $1,200,000. After additional conversations, the total number of tablets was

reduced to 150,000. One September 18, 2005, Thongseng and several others traveled to a motel

in Fitchburg in order to complete the sale. The agents arrested Thongseng and the others on that

date.

        Thongseng entered a plea of guilty on March 23, 2007. On June 11, 2007, his counsel

filed a sentencing memorandum and a motion for downward departure. Among other things,

counsel argued for a minor role adjustment under U.S.S.G. § 3B1.2, and asked the Court to

consider the immigration consequences of any sentence imposed. The guideline range was 108

to 135 months. At the sentencing hearing on June 21, 2007, the Court denied the minor role

sentencing adjustment and imposed a 108-month sentence, at the low end of the guideline range.

The Court expressly considered, among other things, Thongseng’s immigration status, his

standing within the organization, and the sentences given to his co-defendants.


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       Thongseng did not appeal. On May 27, 2008, Thongseng filed a motion to vacate, set

aside, or correct his sentence under 28 U.S.C. § 2255.

II.    Analysis

       A.      Standard of Review

       Petitioner asserts four grounds for relief: (1) that he received ineffective assistance of

counsel because his counsel failed to file a motion for downward departure due to his

immigration status; (2) that he received ineffective assistance of counsel because his counsel

failed to file a motion for downward departure due to the alleged disparity between his sentence

and the sentences of his co-defendants; (3) that the Court should re-consider his motion for

mitigating role adjustment; and (4) the sentence is unreasonable and greater than necessary

within the meaning of the relevant law.

       Under 28 U.S.C. § 2255, a prisoner may file a motion to vacate, set aside, or correct a

sentence. The relief requested may be granted on the grounds that the “petitioner’s sentence (1)

was imposed in violation of the Constitution, or (2) was imposed by a court that lacked

jurisdiction, or (3) exceeded the statutory maximum, or (4) was otherwise subject to collateral

attack.” David v. United States, 134 F.3d 470, 474 (1st Cir. 1998); see also Hill v. United States,

368 U.S. 424, 426-27 (construing the statute).

       The first two claims allege ineffective assistance of counsel, and thus a violation of the

Sixth Amendment. The remaining two claims do not allege a violation of the Constitution, a

lack of jurisdiction, or that the sentence exceeded the statutory maximum, and are therefore

properly analyzed under the fourth factor. The fourth factor is a catch-all that includes only

“assignments of error that reveal fundamental defects which, if uncorrected, will result in a


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complete miscarriage of justice, or irregularities that are inconsistent with the rudimentary

demands of fair procedure.” David, 134 F.3d at 474 (internal quotation marks omitted).

Because § 2255 is not a substitute for direct appeal, “a nonconstitutional claim that could have

been, but was not, raised on appeal, may not be asserted by collateral attack under § 2255 absent

exceptional circumstances.” Knight v. United States, 37 F.3d 769, 772 (1st Cir. 1994).

       Plaintiff bears the burden of establishing that he is entitled to relief under § 2255. David,

134 F.3d at 474.

       B.      The Constitutional Claims

       Claim One alleges ineffective assistance of counsel for failure to move for a downward

departure due to petitioner's immigration status. Claim Two alleges ineffective assistance of

counsel for failure to move for downward departure due to sentencing disparity.

       In order to establish that he received ineffective assistance of counsel, petitioner must

show that the “counsel made errors so serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment.” Strickland v. Washington, 466 U.S. 668,

687 (1984). The level of scrutiny must be “highly deferential.” Id. at 689 (“It is all too tempting

for a defendant to second-guess counsel's assistance after conviction or adverse sentence, and it

is all too easy for a court, examining counsel's defense after it has proved unsuccessful, to

conclude that a particular act or omission of counsel was unreasonable.”). Even deficient

representation does not create a constitutional violation without a showing of actual prejudice.

United States v. McGill, 11 F.3d 223, 226 (1st Cir. 1993). For the reasons set forth below,

petitioner cannot meet the requirements of Strickland.



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                1.     Alleged Failure to Raise Petitioner’s Immigration Status

        Petitioner first claims that his counsel was ineffective for failure to file a motion for

downward departure under the United States Sentencing Guidelines based on his status as a

deportable alien. That claim may be readily disposed of, as his counsel expressly raised the issue

of his immigration status at sentencing, and the Court expressly considered it.

        Prior to the sentencing, counsel for petitioner filed a sentencing memorandum that

included a “motion for downward departure/variance.” (Docket #200). That memorandum

contains the following argument:

        The defendant further requests the court to consider the collateral consequence the
        defendant faces as a deportable alien. The defendant has spent most of his life in the
        United States and has become completely acculturated. Deportation, or even the constant
        prospect of deportation [,]will weigh heavily on Mr. Thongseng and is a consequence
        that
        most other defendants with this conviction do not have to face.


(Sent. Mem. at 4-5).

        The Court read the memorandum, and considered the issue in imposing sentence; indeed,

it expressly addressed the issue twice:

        I think the only other objection and maybe more in the nature of a comment is to
        the effect that the defendant, who was reared in the United States and is fully
        acculturated here, but nonetheless faces deportation. I don’t think that’s a factor
        standing alone to depart under the guidelines. It’s an unfortunate[ly] common
        circumstance; although, obviously it’s always part of the mix of information the
        Court considers.


(Sent. Tr. at 14.)


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        And in terms of the defendant’s childhood and the unfortunate circumstance that
        after serving a relatively significant prison term that he may be deported to a
        country that he is – or he has no family or friends [in] and – and has not resided
        for most of his life, it’s an unfortunate and unhappy consequence, but again, one
        that is relatively common or unfortunately rather common and is part of the
        natural consequence of engaging in serious criminal activity in a country where
        you’re not a citizen.

(Id. at 21-22.)

        Finally, even if the Court had not previously considered the issue, “a deportable alien

who commits a crime is still within the ‘heartland’ of the guidelines, absent something more,”

and thus the failure to give a downward departure on the basis of immigration status is not a

fundamental defect in sentencing. See United States v. Maldonado, 242 F.3d 1, 5 (1st Cir. 2001).

        Under the circumstances, petitioner’s claim of ineffective assistance of counsel for failure

to raise the issue of his immigration status is not supported by the evidence or the law, and must

be rejected.

                  2.   Alleged Failure to Move for Downward Departure based on Disparity
                       of Sentences


        Petitioner next claims that his counsel was ineffective for failure to file a motion for

downward departure under the United States Sentencing Guidelines based on the disparity

between his sentence and the sentences received by his co-defendants. This claim is likewise

without merit.

        The Court at the sentencing expressly considered the degree of defendant’s involvement

in the conspiracy, including the amount of drugs he handled and his position within the


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conspiracy. His sentence of 108 months was at the low end of the guideline range.

        His co-defendants who participated in the 150,000 tablet sale generally received

sentences of similar or greater length. Thus, Thongkoune Inthoulangsy received a 210-month

sentence; Sanaxay Khounthy received a 120-month sentence; and Boula Sisompeng received a

108-month sentence. The only exception was Bounkong Sisavath, who had no prior

involvement except for the final load and received a 98-month reduction, 10 months below the

low end of the guideline range. Those co-defendants with lesser roles or who were not involved

in the 150,000 tablet sale received lesser sentences; for example, Xaysaktsith Sida and Bannavon

Douangchak were essentially couriers, and received sentences of 57 months and 59 months,

respectively. Chanpheng Souvannaseng, who received a term of 87 months, who had a more

significant role than Thongseng during the initial negotations, but dropped out of the enterprise

before the 150,000-tablet sale.1

        In short, those of petitioner’s co-defendants who were as deeply involved as he in the sale

of ecstasy received similar or greater sentences; those co-defendants who received shorter

sentences did not have the same level of involvement as the petitioner. Petitioner has failed to

establish that anything his counsel might have done differently would have led to any different

result, and thus cannot establish that counsel was unconstitutionally ineffective.2




        1
            Among the remaining defendants, Jason Mounsonbath received a sentence of 120 months; Bun Srey
received a sentence of 120 months; and Thongpane Chansy (who withdrew from the conspiracy and engaged in
extraordinary personal rehabilitative efforts) received a 46-month sentence. Vien Kay Kounlabouth went to trial and
was acquitted.
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           The Court also notes that under the Sentencing Guidelines, it is not permitted to depart downward on
grounds of disparity of sentence between the petitioner and his co-defendants. See United States v. Thurston, 358
F.3d 51, 78 (1st Cir. 2004). The Court may, of course, consider a non-guideline sentence on that basis.

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       C.      The Non-Constitutional Claims

       Claim Three alleges that the Court should reconsider his motion for a mitigating role

adjustment pursuant to U.S.S.G. § 3B1.2. Claim Four alleges that the sentence is unreasonable

and greater than necessary under 28 U.S.C. § 3553(a) and Booker.

        Claim Three simply seeks reconsideration of the Court’s sentencing decision, without

pointing to any newly-discovered evidence or any intervening change in law, and may be denied

summarily on that basis. In any event, the claim that petitioner deserves a sentence reduction

due to his minor role in the offence fails on the merits, as well. The Court has already

determined that the petitioner did, in fact, play a large role in the drug sale. He personally sold

government agents 5,700 ecstasy tablets and later introduced the agents to another individual

with the purpose of brokering a major sale of ecstasy. Because petitioner was a central figure in

case, a minor role reduction was not proper under U.S.S.G. § 3B1.2

       Claim Four is a claim that could have been brought on appeal, and accordingly cannot be

addressed under a § 2255 petition. See Knight, 37 F.3d at 772. In any event, the claim that the

sentence was “draconian” and unreasonable is also without merit. It is not unreasonable per se

to impose a 108-month sentence upon an individual who was a central figure in the sale of

150,000 ecstasy tablets. Indeed, the sentence imposed upon the petitioner is at the low end of the

advisory range of 108 to 135 months.

III.   Conclusion

       For the foregoing reasons, the motion of Somsanit Thongseng to vacate, set aside, or

correct his sentence pursuant to 28 U.S.C. §2255 is DENIED.



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So Ordered.

                                          /s/ F. Dennis Saylor
                                          F. Dennis Saylor IV
                                          United States District Judge

Dated: October 28, 2009




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